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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                Eastern Division

Federal Trade Commission
                                     Plaintiff,
v.                                                        Case No.: 1:22−cv−03372
                                                          Honorable Manish S. Shah
Walmart Inc.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 6, 2022:


         MINUTE entry before the Honorable Manish S. Shah: By 8/31/22, the parties shall
file a joint initial status report. A template for the Initial Status Report, setting forth the
information required, may be found at http://www.ilnd.uscourts.gov/Judges.aspx by
clicking on Judge Shah's name and then again on the link entitled 'Initial Status
Conferences.' Notices mailed. (psm, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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